                             United States District Court
                           Western District of North Carolina
                                  Charlotte Division

 HARVEY LEE MUNGRO JR.,                )             JUDGMENT IN CASE
                                       )
              Plaintiff,               )               3:20-cv-00605-MR
                                       )
                 vs.                   )
                                       )
 KEVIN TATE, et al,                    )
                                       )
             Defendants.               )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 16, 2021 Order.

                                               March 16, 2021




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